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            EXHIBIT A-3
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    DOCUMENT REDACTED
                               Case 8:17-cv-01955-GJH Document
      RANDALL EMERGENCY PHYSICIANS                       TWN   63-3 Filed 04/20/18OF Page
                                                                     STATEMENT            3 of 3
                                                                                     ACCOUNT                                                                           (1          )        Page 1

      PO BOX 13130
                                                                                                                           Statement Date:      1 2/02/17
      PHILADELPHIA, PA 19101-3130

                                                                                                      Account Number             TWN0936475054238
      TAX ID# XX-XXXXXXX

       202314-0936475054238-03                                                                        Patient Name:              crystal LONG
      #BWNJFDB                                                                                        Access Code:               0193-0936475054238
      #OOOOOTWN 19603469#
      CRYSTAL LONG                                                                                                                                Due Date:                            12/22/17
       5126 SEKOTS RD                                                                                                                Amount You Owe;                                          $0.00
       BALTIMORE, MD 21207                                                                                         PLEASE REMIT PAYMENT BY "PAYMENT DUE BY" DATE.
                                                                                                                   THANK YOU.

                                                                                                                                                Pay Online
                                                                                                                                WWW.MYMEDICALPAYMENTS.COM
                                                                                                                             1-800-355-2470 MON-FRI 9:00AM - 4:00PM

                                                                                       Services provided at:

                         NORTHWEST HOSPITAL CENTER - 5401 OLD COURT ROAD - RANDALLSTOWN MD 21133-5103

                                                                   Description                            Provider              Charges        Payments or              Explanation
Date of        CPTCode                                                                                                                                                                      Amount
                                                                                                                                               Adjustments
Service                                                                                                                                                                                     You Owe

08/26/2014      $3285          EMERGENCY EVAL & MGMT (LVL 5)                                      DR. DEWIT                      $1,125.00        $1,125.00                 1                    $0.00
                                                                                                                                                        •   . . . .   : :




                                              : . . ............            .    .




1. COLLECTION BAD DEBT
THIS STATEMENT MAY NOT REFLECT ANY PAYMENTS YOU MADE AT TIME OF SERVICE,




                                                                                                                        ———




                                                                                                                 Total Charges:                                                 S1.125.0C
                                                                                                                 Current Patient Responsibility:                                    $0.00



                                                                                                              Insurance 2: OS I - COLLECTION




                                                                       PLEASE DETACH AND RETURN BOTTOM PORTION WITH YOUR REMITTANCE.
                                                                                                    Pay Online
                                                                                           WWW. MYMEDICALPA YMEN TS.COM

                                                                                                                                             Payment Due By:                                12/22/17
 Statement Date:                 1 2/02/1 7
                                                                                                                                             Amount Due:                                     $0.00
Account Number:                 TWN0936475054238
                                                                                                                                             Amount Enclosed:
Patient Name:                   CRYSTAL LONG

Guarantor:                                                                                                                        PAY            $0.00                          BY DUE DATE

              CRYSTAL LONG
              5126 SEKOTS RD
              BALTIMORE, MD 21207




           2023mD93tJ4 7SOS4P3flOOa09nODDOOOOOaOOnC03                                                                  Make Check/Money Order payable to:

                                                                                                                       RANDALL EMERGENCY PHYSICIANS                                     TWN
                                                                                                                       PO BOX 13130
  I     h If your address has changed, check this box and complete the                 reverse

                                                                                                                                                        PCP II 007
      fHi side of this form.                                                                                           PHILADELPHIA          PA 19101-^1^ jj qq^


                                                                         Confidential
                                                                         Confidential -- Subject to Protective
                                                                                         Subject to Protective Order
                                                                                                               Order
